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                   United States Court ofAppeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                          600 S. MAESTRI PLACE,
                                                                    Suite 115
                                                              NEW ORLEANS, LA 70130

                             January 08, 2024


Mr. Scott Harris
                                                                        PILED
Supreme Court of the United States
One First Street, N.E.                                                    J4N 0 9
Washington, DC 20543                                                                   2C4
                                                                                         C
      No. 23-50869      State of Texas v. DHS
                        USDC No. 2:23-CV-55

Dear Mr. Harris,
Pursuant to your recent request, I write to advise the appellate
court record can be accessed on PACER through the court's
website(www.ca5.uscourts.gov)
By copy of this letter, the Clerk of the United States District
Court for the Western District of Texas is directed to transmit
their record to the United States Supreme Court.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk
                                    cZ        E.
                                   By:
                                   Lisa B. Ferrãra,       Deputy Clerk
                                   504-310-7675
cc:
      Mr.   An Cuenin
      Mr.   Philip Devlin
      Mr.   Christopher A. Eiswerth
      Ms.   Vickie Garza
      Mr.   Robert D. Green
      Mr.   Robert E. Henneke
      Mr.   James Andrew Mackenzie
      Mr.   Steven Andrew Myers
      Mr.   Aaron Lloyd Nielson
      Ms.   Melissa Nicole Patterson
      Mr.   Ryan Daniel Walters
P.S. This court will provide the video to you separately.
